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             .    Case 1:17-cv-00941-RGA Document 20 Filed 01/26/18 Page 1 of 2 PageID #: 204




                                               IN THE UNITED STATES DISTRICT COURT
                                                    FOR DISTRICT OF DELAWARE

                   SMART AUTHENTICATION IP, LLC                       )
                                                                      )
                                  Plaintiff,                          )
                                                                      ) Civil Action No.I: l 7-cv-941-RGA
                   v.                                                 )
                                                                      ) JURY TRIAL DEMANDED
                   PERSONAL CAPITAL CORPORATION                       )
                                     )
                        Defendant.   )
                   ~~~~~~~~~~~~~~~~-)

                                                 STIPULATED MOTION TO DISMISS

                          The plaintiff Smart Authentication IP, LLC and defendant Personal Capital Corporation,

                   pursuant to Fed. R. Civ. P. 41(a)(2) and (c), hereby move for an order dismissing all claims

                   brought by Smart Authentication IP, LLC in this action WITH PREJUDICE, and dismissing all

                   counterclaims brought by Personal Capital Corporation in this action WITHOUT PREJUDICE,

                   with each party to bear its own costs, expenses and attorneys' fees.



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          Case 1:17-cv-00941-RGA Document 20 Filed 01/26/18 Page 2 of 2 PageID #: 205




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                                                    Attorneys for Defendant
                                                    Personal Capital Corporation



           SO ORDERED, this __2~C__ day of January, 2018.
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